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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

    SYMBOLOGY INNOVATIONS, LLC          §
                                        §
          Plaintiff,                    §          Case No: 2:16-cv-0450-JRG
                                        §
    vs.                                 §          LEAD CASE
                                        §
    CITIBANK, NA                        §
                                        §
          Defendant.                    §
    ____________________________________§
    SYMBOLOGY INNOVATIONS, LLC          §
                                        §
          Plaintiff,                    §          Case No: 2:16-cv-0596-JRG
                                        §
    vs.                                 §          CONSOLIDATED CASE
                                        §
    ACTIONTEC ELECTRONICS, INC.         §
                                        §
          Defendant.                    §
    ____________________________________§

                                            ORDER
.
            On this day the Court considered the Joint Motion to Dismiss Actiontec

     Electronics (Dkt. No. 100). It is therefore ORDERED that all claims by Symbology

     Innovations, LLC against Actiontec Electronics, Inc. are DISMISSED WITH

     PREJUDICE, and all claims by Actiontec Electronics, Inc. against Symbology

     Innovations, LLC are DISMISSED AS MOOT with each party to bear its own costs,

     expenses and attorneys’ fees.


      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 20th day of September, 2016.




                                                   ____________________________________
                                                   RODNEY GILSTRAP
                                                   UNITED STATES DISTRICT JUDGE
